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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                  CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

            Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

            Defendants.
                                          /

           ORDER REQUIRING PRELIMINARY PROPOSED JURY INSTRUCTIONS
                    AND VERDICT FORMS ON COUNTS 1–32 ONLY

            On or before April 2, 2024, Defendant Trump and the Special Counsel each shall file

  proposed jury instructions limited to the essential elements of the offenses charged in Counts 1

  through 32 of the Superseding Indictment [ECF No. 85], along with proposed verdict forms for

  those counts (general or special).1 Moreover, understanding that juries are judges of the facts, not

  the law, the proposals shall take care to specify (in incorporated briefing as necessary) exactly

  what factual questions are reserved for the jury on Counts 1 through 32 in light of the recently

  argued motions to dismiss [ECF Nos. 325, 327].2 With respect to the proposed language pertinent

  to the issue of “unauthorized possession” specifically, the parties must engage with the following




  1
   Instructions beyond the substantive contours of Counts 1 through 32 are not part of this Order,
  but defenses inextricably intertwined with the statutory definitions are so contained. The standard
  twenty-page limit for memoranda of law does not apply to the ordered submissions.
  2
      Deadline for final proposed jury instructions and verdict forms to be set by separate order.
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  competing scenarios and offer alternative draft text that assumes each scenario to be a correct

  formulation of the law to be issued to the jury, while reserving counterarguments.

        (a) In a prosecution of a former president for allegedly retaining documents in violation of 18

            U.S.C. § 793(e), a jury is permitted to examine a record retained by a former president in

            his/her personal possession at the end of his/her presidency and make a factual finding as

            to whether the government has proven beyond a reasonable doubt that it is personal or

            presidential using the definitions set forth in the Presidential Records Act (PRA).3

        (b) A president has sole authority under the PRA to categorize records as personal or

            presidential during his/her presidency. Neither a court nor a jury is permitted to make or

            review such a categorization decision. Although there is no formal means in the PRA by

            which a president is to make that categorization, an outgoing president’s decision to

            exclude what he/she considers to be personal records from presidential records transmitted

            to the National Archives and Records Administration constitutes a president’s

            categorization of those records as personal under the PRA.

            DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 18th day of March

  2024.



                                                            _________________________________
                                                            AILEEN M. CANNON
                                                            UNITED STATES DISTRICT JUDGE



  cc:       counsel of record




  3
      Any separation of powers or immunity concerns shall be included in this discussion if relevant.
                                                     2
